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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHAEL WELCH,

      Plaintiff,
vs.                                               Case No: 18-cv-11450
                                                  Hon. Laurie J. Michelson
CITY OF MELVINDALE, a political                   Mag. Mona K. Majzoub
Subdivision of the State; MELVINDALE
PUBLIC SAFETY COMMISSION, a political
advisory body of the City of Melvindale;
JEFFERY BOLTON, KEVIN MCISAAC,
MARTHA MCDANIEL, PATRICIA HALL,
JOSEPH ALVARADO, and LAWRENCE
COOGAN, individuals, sued in their official and
personal capacities,

      Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     PLUNKETT COONEY
Deborah L. Gordon (P27058)             Audrey J. Forbush (P41744)
Elizabeth Marzotto Taylor (P82061)     Attorney for Defendants, City of
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                                    lbrown@jrsjlaw.com
__________________________________________________________________

    PLAINTIFF’S PRELIMINARY LAY AND EXPERT WITNESS LIST

         NOW COMES Plaintiff Michael Welch, by and through his attorneys,

Deborah Gordon Law, and submits the following list of witnesses that he may call

at trial in this matter:

   1.      Plaintiff Michael Welch

   2.      Melissa Welch

   3.      Jeffrey Bolton

   4.      Kevin McIsaac

   5.      Martha McDaniel

   6.      Patricia Hall

   7.      Jason Ortiz

   8.      Joseph Alverado

   9.      Lawrence Coogan

   10.     Roger Kaley

   11.     John Allen

   12.     Stacy Bazman / Striz

   13.     Richard Ortiz

   14.     Matthew Furman
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   15.   Brandon Nolin

   16.   Robert Kennaley

   17.   Donald Meador

   18.   Gary Bowerman

   19.   Chad Hayse

   20.   Chester Kulesza

   21.   Brandon Canfield

   22.   Chad Detrich

   23.   Sara Lane

   24.   John Ginther

   25.   Michael Thomson, Ph.D., Thomson Econometrics & Employment

         Research

   26.   All treating and/or examining physicians, psychiatrists, psychologists,

         and health care professionals for Plaintiff, including but not limited to:

          a.    Dr. Joseph Zambo; and

          b.    Dr. Steven Crossley

   27.   Keepers of the records for all treating and/or examining physicians,

         psychiatrists, psychologists, and health care professionals for Plaintiff
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   28.   Any current or former employees, representatives, agents, record keepers,

         or contractors of Defendants who may have information pertaining to

         Plaintiff’s claims or Defendants’ defenses

   29.   Any current or former employees, representatives, agents, record keepers,

         or contractors of the Melvindale Police Department who may have

         information pertaining to Plaintiff’s claims or Defendants’ defenses

   30.   Any current or former employees, representatives, agents, record keepers,

         or contractors of the Police Officers’ Labor Council who may have

         information pertaining to Plaintiff’s claims or Defendants’ defenses

   31.   Any current or former employees, representatives, agents, record keepers,

         or contractors of Coogan Law or any other related entities who may have

         information pertaining to Plaintiff’s claims or Defendants’ defenses

   32.   All individuals identified in answers to interrogatories, requests for

         production of documents, depositions, duces tecum notices, initial

         disclosures, and all other discovery produced by any party

   33.   All witnesses on Defendants’ witness lists

   34.   Any and all necessary rebuttal lay and expert witnesses

   35.   Any and all witnesses necessary to lay the foundation for the admission

         of evidence

   36.   Any and all witnesses necessary to authenticate
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   37.   Any and all records keepers

   38.   Plaintiff reserves the right to supplement and/or amend this witness list if

         additional discovery is produced.

Dated: September 28, 2018              DEBORAH GORDON LAW

                                       /s/ Deborah L. Gordon (P27058)
                                       Elizabeth Marzotto Taylor (P82061)
                                       Attorneys for Plaintiff
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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 28, 2018 I electronically filed with the
foregoing document with the Clerk of the Court using the ECF system which will
send notification of such filing to all counsel of record.

                                       DEBORAH GORDON LAW

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                                       /s/ Elizabeth Marzotto Taylor (P82061)
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